------ manifest line ---------
MELISSA L. RESAR
614 W. SUPERIOR AVE, # 950
CLEVELAND, OH 44113



DTTAFADDTTFTDTFTFDTDDADADAFADFATDDFTAAAFDTTADFAAATDFDTDFADDDTDFFT




Date: November 10, 2022

Case: 18-13233

Loan Number:




Dear Sir/Madame,




Enclosed is correspondence relating to a loan we service for your client.




Sincerely,




Rushmore Loan Management Services LLC




                                                                            --- no inserts ---
                                                                                                                                  Escrow Analysis
                                                                                                                                       Statement
                                                                                                   Statement Date:                                  November 10, 2022


                                                                                                   Loan Number:




      KELLY M HAMMOCK SR
      3608 RIVERSIDE DRIVE
      CLEVELAND OH 44109-0000




   We review your escrow account annually to ensure that you have adequate funds to cover your tax and insurance items for the next 12 months. The amounts billed


   for certain escrow items changed. This statement describes the changes, possible changes to your monthly payments, and your options.




What changed?

                        Property Taxes                                        Homeowner's Insurance


      $2,100.00                                                  $1,800.00



      $2,077.78                                                  $1,755.56



      $2,055.56                                                  $1,711.11



      $2,033.33                                                  $1,666.67



      $2,011.11                                                  $1,622.22



      $1,988.89                                                  $1,577.78



      $1,966.67                                                  $1,533.33



      $1,944.44                                                  $1,488.89



      $1,922.22                                                  $1,444.44



      $1,900.00                                                  $1,400.00

                       Prior              Current                                Prior               Current



                     Taxes had no change.                            Insurance decreased by $240.00 per year.



   Changes in the above items mean that the amount needed in your escrow account decreased by $240.00 per year.




How do these changes affect me?
 Based upon the Anticipated Escrow Disbursements and Payments, we have determined that your Escrow Account has sufficient funds. In order to receive a refund your


 loan must be current, in good standing and have sufficient funds in your escrow account.




                                       Current                                       New Monthly

                                      Payment          Escrow Change              Payment Effective

                                                                                         01/2023

                     Due Date            10/2022                                                     01/2023


     Principal and Interest              $449.44                                                     $449.44


           Escrow Payment                $299.79                    -$0.86                           $298.93


           Escrow Overage                                                                               $0.00


                       TOTAL             $749.23                                                     $748.37


    A detailed explanation of the calculations for your escrow account is located on page 2.




   Note: 'Online   bill payment users:   Your payment is changing effective 01/01/2023 so    action is required.   Please log into your bank's online account and update your


   payment amount. Thank you!




Rushmore Loan Management Services LLC




ESCROW OVERAGE
                                                                                            Based upon the Anticipated Escrow Disbursements and Payments, we have

Loan Number:                                                                                determined that your Escrow Account has sufficient funds. In order to receive

Mortgagor Name: KELLY M HAMMOCK SR                                                          a refund your loan must be current, in good standing and have sufficient funds


                                                                                            in your escrow account.

Escrow Overage Amount: $522.64




          Rushmore Loan Management Services LLC
          P.O. Box 514707
          Los Angeles, CA 90051-4707
          DTTAFADDTTFTDTFTFDTDDADADAFADFATDDFTAAAFDTTADFAAATDFDTDFADDDTDFFT
 November 10, 2022                                                                                                     Loan Number:




How did Rushmore make the escrow calculations?

 Step 1: Rushmore analyzes all items paid by the escrow account, we then calculate the amount that you’ll likely need to pay these

 bills.

 Step 2: We take your anticipated taxes and/or insurance premiums to determine the total outgoing payments. We then divide the

 total outgoing payments by 12 to determine your monthly escrow amount.

 Your total anticipated tax and/or insurance premium(s) are as follows:

 Annual Property Taxes                                 $2,064.06

 Annual Property Insurance                             $1,523.00

 Total                                                 $3,587.06 divided by 12 months = $298.92


 Step 3: We calculate the minimum required escrow balance. Your escrow account must have a minimum balance of $0.00 for the

 next year.

 Step 4: We calculate your annual escrow account projection for the coming year. If your monthly escrow balance falls below the

 minimum balance of $0.00, your escrow account experiences a shortage. If our calculation determines that your monthly escrow

 balance will not reach the minimum balance, your escrow account will have an overage.

 The table below demonstrates the estimated activity in your escrow account for the coming year.




What escrow activity is expected in the coming year?

  The highlighted row indicates the lowest estimated escrow balance for the year of $183.99. The difference between the lowest

  projected balance of $183.99 and the minimum required escrow balance of $0.00 is $522.64.



  $522.64 is your escrow overage.


                             PAYMENTS                     ESTIMATED PAYMENTS FROM                                    ESCROW ACCOUNT

                                 TO                            ESCROW ACCOUNT                                                 BALANCE

                             ESCROW           MIP/PMI             Taxes            Flood       Homeowner's            Estimated       Required

                             ACCOUNT                                          Insurance              Insurance

            Anticipated

                                                                                            Starting Balance            $183.89             -$0.10
          Date of Activity


              Jan 23             $298.93                                                                                 $482.82           $298.83


              Feb 23             $298.93                                                                                 $781.75           $597.76


              Mar 23             $298.93                                                                               $1,080.68           $896.69


              Apr 23             $298.93                                                                               $1,379.61         $1,195.62


              May 23             $298.93                                                                               $1,678.54         $1,494.55


              Jun 23             $298.93                        $1,032.03                                                $945.44           $761.45


               Jul 23            $298.93                                                                               $1,244.37         $1,060.38


              Aug 23             $298.93                                                                               $1,543.30         $1,359.31


              Sep 23             $298.93                                                                               $1,842.23         $1,658.24


              Oct 23             $298.93                                                             $1,523.00           $618.16           $434.17


              Nov 23             $298.93                                                                                 $917.09           $733.10


              Dec 23             $298.93                        $1,032.03                                                $183.99             $0.00




  NOTE:     If this escrow analysis indicates that there is a surplus, it may not mean that you are entitled to receive a return of that surplus. This


  analysis was calculated based on an assumption that the account is current according to the terms of the note and Mortgage/Deed of Trust. If


  the account is behind, in default, or in bankruptcy, this analysis may not reflect the current state of the account or the terms of a bankruptcy


  plan. If there are enough funds in the escrow account the surplus will be mailed to you within 30 days, provided the account is current under the


  terms of the note and Mortgage/Deed of Trust.




           E—Indicates the activity has not yet occurred but is estimated to occur as shown.



  *If there is an amount listed in the “Actual” column under Payments To Escrow Account on Page 2 above, then this is the assumption that was made and

  indicates the amount that would have been paid into escrow for a contractually current loan. This number does not represent payments that were actually

  made by you. As discussed above, these escrow calculations are calculated based on an assumption that the account would be current according to the

  terms of the note and mortgage/deed of trust.




              Back of coupon or check intentionally left blank
November 10, 2022                                                                                                  Loan Number:


 Rushmore Loan Management Services LLC is a Debt Collector, who is attempting to collect a debt. Any information obtained will be used for


 that purpose. However, if you are in Bankruptcy or received a Bankruptcy Discharge of this debt, this letter is being sent for informational


 purposes only, is not an attempt to collect a debt and does not constitute a notice of personal liability with respect to the debt.




                                                          ADDITIONAL NOTICES



 Rushmore Loan Management Services LLC            is a Debt Collector attempting to collect a debt.


 Bankruptcy Notice. If you are in bankruptcy or if your obligation to repay this loan was discharged in bankruptcy, this

 informational notice is sent to you in order to comply with statutory requirements. It is not an attempt to collect a debt. You may

 disregard information relating to payment remittance. You are not obligated to make payments and any amount(s) you do pay

 Rushmore is at your discretion.      Please note, however, Rushmore reserves the right to exercise its legal rights, including but not

 limited to foreclosure of its lien interest, only against the property securing the original obligation.


 If you have any other mortgage loans secured by the same property not serviced by Rushmore, please contact your other servicer

 directly to discuss any possible loss mitigation options that may be available to you.


 If you are a confirmed Successor-in-Interest who has not assumed the mortgage loan obligation under State Law, this letter is being

 sent for information purposes only and does not constitute personal liability with respect to the debt.


 LEGAL NOTIFICATION: Rushmore Loan Management Services LLC may report information about your account to credit

 bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report.


 Notice of Error Resolution & Information Request Procedures

 The following outlines the Error Resolution and Information Request Procedures for your mortgage account at Rushmore Loan

 Management Services LLC        (RLMS). Please keep this document for your records.


 If you think an error has occurred on your mortgage account or if you need specific information about the servicing of

 your loan, please write us at:


                                                   Rushmore Loan Management Services LLC

                                                                  P.O. Box 52262

                                                              Irvine, CA 92619-2262


 All written requests for information or notices of error should contain the following information:
    1. Your name
    2. Account number
    3. Property Address
    4. Description of the error and explanation as to why you believe it is an error or a request for specific information regarding
        the servicing of your loan
    5. Current contact information so we may follow up with you

 All written requests for specific information will be handled within 30 days of receipt. We will determine whether an error

 occurred within 30 days after receiving your notice of error and will correct any error promptly (Notices of error on payoff

 statements will be handled within 7 days). If additional time is needed to investigate your complaint or request, we may take up to

 45 days but we will notify you of the extension within the original 30 days. If we decide that there was no error, we will send you a

 written explanation. You may ask for copies of the documents that we used in our investigation.


 HUD STATEMENT

 Pursuant to section 169 of the Housing and Community Development Act of 1987, you may have the opportunity to receive

 counseling from various local agencies regarding the retention of your home. You may obtain a list of the HUD approved housing

 counseling agencies by calling the HUD nationwide toll-free telephone at 1-800-569-4287.


 Equal Credit Opportunity Act Disclosure

 NOTICE: The federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis of

 race, color, religion, national origin, sex, marital status, age (provided the applicant has the capacity to enter into a binding

 contract); because all or part of the applicants income derives from any public assistance program; or because the applicant has in

 good faith exercised any right under the Consumer Credit Protection Act. The federal agency that administers compliance with this

 law concerning this creditor is the Bureau of Consumer Financial Protection, 1700 G Street NW, Washington, DC 20552 or

 Federal Trade Commission, Equal Credit Opportunity, Washington, DC 20580.


 The following notice is in reference to the Homeowner Assistance Fund:

 The Homeowner Assistance Fund is a federal program to help homeowners impacted by COVID-19 resolve mortgage payments

 and other housing expenses. To learn more about the availability of Homeowner Assistance Funds in your state, please visit

 Rushmore's State Homeowner Assistance Resources page at https://www.rushmorelm.com/state-assistance/.




                                                                                                                                       Rev 06/22
                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                                CLEVELAND DIVISION

 In Re:                                            Case No. 18-13233-jps

 Kelly M. Hammock, Sr.
                                                   Chapter 13
 Evelyn Hammock

 Debtors.                                          Judge Jessica E. Price Smith

                                 CERTIFICATE OF SERVICE

I certify that on November 30, 2022, a true and correct copy of this Notice of Mortgage Payment
Change was served:

Via the Court’s ECF System on these entities and individuals who are listed on the Court’s
Electronic Mail Notice List:

          Melissa L. Resar, Debtors’ Counsel
          mresar@ohiolegalclinic.com

          Lauren A. Helbling, Chapter 13 Trustee
          ch13trustee@ch13cleve.com

          Office of the U.S. Trustee
          (registeredaddress)@usdoj.gov

And by regular U.S. Mail, postage pre-paid on:

          Kelly M. Hammock, Sr., Debtor
          3608 Riverside Avenue
          Cleveland, OH 44109
Evelyn Hammock, Debtor
3608 Riverside Avenue
Cleveland, OH 44109

                         Respectfully Submitted,

                         /s/ Molly Slutsky Simons
                         Molly Slutsky Simons (0083702)
                         Sottile & Barile, Attorneys at Law
                         394 Wards Corner Road, Suite 180
                         Loveland, OH 45140
                         Phone: 513.444.4100
                         Email: bankruptcy@sottileandbarile.com
                         Attorney for Creditor
